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 1    Lena N. Bacani (SBN 213556)
      lena.bacani@lozaip.com
 2    LOZA & LOZA, LLP
      305 N. Second Ave., Ste. 127
 3    Upland, CA 91786
      Telephone: (877) 406-5164
 4    Facsimile: (213) 394-3625
 5    Attorneys for Plaintiff,
 6    Fight Camp Conditioning, LLC

 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11                                            CASE NO. 8:20-cv-00417
      FIGHT CAMP CONDITIONING, LLC,
12
                        Plaintiff,
13                                            COMPLAINT
      v.
14
15    HYKSO INC.
                                              JURY TRIAL DEMANDED
16                      Defendant.
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                                      COMPLAINT
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 1         Plaintiff Fight Camp Conditioning, LLC (“FCC” or “Plaintiff”), by and
 2   through its attorneys, brings this Complaint against Defendant Hykso Inc. (“Hykso”
 3   or “Defendant”), and alleges as follows:
 4                              NATURE OF THE ACTION
 5         1.     Two California-based companies offering combat sport-related fitness
 6   classes on-line under identical trademarks simply cannot coexist without causing
 7   irreconcilable customer confusion. That is why FCC brings this action for: (1)
 8   injunctive relief, damages and other available remedies for false designation of
 9   origin and association under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); (2)
10   injunctive relief, statutory damages, and other available remedies for each illegally
11   registered domain name, actual damages, and punitive damages for illegal
12   cybersquatting in violation of the Anti-Cybersquatting Consumer Protection Act, 15
13   U.S.C. § 1125(d); (3) injunctive relief and actual damages for Fraudulent
14   Registration of Marks, 15 U.S.C. § 1120; (4) injunctive relief, damages and other
15   available remedies for violation of California state common trademark law; and (5)
16   injunctive relief, restitution, and other available remedies for unfair competition
17   under California Business and Professions Code § 17200 et seq.
18                             JURISDICTION AND VENUE
19         2.     This is a civil action arising under the trademark and unfair
20   competition laws of the United States. This Court has original jurisdiction over the
21   subject matter of the Lanham Act and Anti-Cybersquatting Consumer Protection
22   Act claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).
23         3.     The Court has pendant jurisdiction over the state trademark
24   infringement and unfair competition claims under 28 U.S.C. §§ 1338(b) in that the
25   claims are joined with a substantial and related claim under the Trademark Laws of
26   the United States and are so related to the federal claims that they form part of the
27   same case or controversy and arise from a common nucleus of operative facts. 15
28   U.S.C. §§ 1501, et seq.
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                                          COMPLAINT
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 1           4.     This Court has personal jurisdiction over Defendant because it has
 2   engaged in systematic and continuous business activities in this District and resides
 3   here.
 4           5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b), (c)
 5   and 1391(d).
 6                                          PARTIES
 7           6.     Plaintiff Fight Camp Conditioning, LLC (“FCC” or “Plaintiff”) is a
 8   California limited liability company that maintains its principal place of business at
 9   62 Cactus Flower, Irvine, CA 92620.
10           7.     Upon information and belief, Defendant Hykso Inc. (“Hykso” or
11   “Defendant”) is a Delaware corporation that maintains its principal place of
12   business at 3200 Park Center Drive, Suite 1400, Costa Mesa, CA 92626.
13                               FACTUAL ALLEGATIONS
14           8.     Corey Beasley, is a well-known fitness trainer who has trained athletes
15   for over 22 years, and is the principal and sole owner of Fight Camp Conditioning,
16   LLC (“FCC”). FCC owns and has continuously and substantially used, and
17   continues to use, the “FIGHT CAMP CONDITIONING” and “FIGHT CAMP”
18   trademarks (collectively, “FIGHT CAMP Marks”) in commerce since 2011.
19           9.     Since founding Fight Camp Conditioning in 2011, Mr. Beasley has
20   purposefully and steadily invested in the FIGHT CAMP Marks to grow FCC’s
21   recognition as a quality brand in the fitness industry.
22           10.    Since 2012, FCC has used, and continues to use, its FIGHT CAMP
23   Marks on social media platforms, including Facebook, YouTube, Instagram,
24   Twitter and Pinterest, with approximately 68,553 followers. FCC also has nearly
25   20,000 subscribers on its email marketing list.
26           11.    FCC acquired and registered the domain name for its website,
27   https://fightcampconditioning.com (“FCC Website”), in 2011. The FCC Website
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                                           COMPLAINT
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 1   domain name incorporated FCC’s name and FIGHT CAMP Marks, which were
 2   distinctive at that time of registration.
 3          12.    FCC has continuously promoted and sold its on-line training programs
 4   and merchandise under the FIGHT CAMP Marks on the FCC Website since at least
 5   2014. The FCC Website features numerous content, including over 400 articles,
 6   100 podcasts and videos from leading fitness coaches showcasing workouts, tips
 7   and other content for martial artists, wrestlers, boxers, mixed martial arts (“MMA”)
 8   fighters, and others interested in combat sports. FCC sells over a dozen FCC on-
 9   line training programs geared for a range of customers, from casual at-home
10   participants to serious combat athletes. FCC also sells clothing and other
11   merchandise on the FCC Website.
12          13.    All of FCC’s products and services are promoted and sold under its
13   FIGHT CAMP Marks to customers across the United States and around the World
14   through FCC’s Website.
15          14.    Upon information and belief, Defendant is a competitor of FCC,
16   selling on-line and on-demand fitness and boxing workouts and related products.
17          15.    Plaintiff first learned of Defendant’s website,
18   https://joinfightcamp.com (“Defendant Website”) around September 2019.
19   Defendant sells on-line and on-demand fitness and boxing workouts, monthly
20   memberships, and workout accessories such as boxing gloves, mats, and punching
21   bags, on the Defendant Website under the “FIGHTCAMP” trademarks (hereafter
22   “Infringing Marks”) detailed below.
23          16.    Upon information and belief, Defendant knew of FCC, the FIGHT
24   CAMP Marks, and FCC’s use of the FCC Website domain name prior to registering
25   the domain name for Defendant’s Website.
26          17.    Defendant adopted the domain name for Defendant’s Website in bad
27   faith, in order to divert customers away from FCC’s Website and to trade off the
28   good will and reputation FCC had built for its business and FIGHT CAMP Marks.
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                                            COMPLAINT
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 1         18.    On September 2019, FCC learned that Defendant had filed for federal
 2   registration for the Infringing Marks.
 3         19.    On May 28, 2018, Defendant filed an intent-to-use App. Ser. No.
 4   87/938,573 for registration of FIGHTCAMP in International Class 041 for
 5   “Providing classes, workshops and seminars in the fields of fitness, exercise,
 6   martial arts, and boxing; physical fitness instruction and consultation; boxing
 7   instruction and consultation, physical fitness conditioning classes; physical fitness
 8   training services; boxing and martial arts training services; providing a website
 9   featuring information on exercise, physical fitness, martial arts, and boxing
10   accessible through a global computer network and mobile devices.” The
11   application registered as Reg. No. 5,922,954 (“the ‘954 Reg.”) on November 26,
12   2019. Defendant listed its first use of the mark in commerce as January 15, 2018.
13         20.    On May 28, 2018, Defendant filed an intent-to-use Application, Ser.
14   No. 87/938,571 for FIGHTCAMP in International Class 038 for “Streaming of
15   audio and video materials on the Internet featuring physical fitness classes, training,
16   and instruction; streaming of audio and video materials on the internet featuring
17   mini-documentaries of athletes or fitness participants.” The application registered
18   as Reg. No. 5,909,249 on November 12, 2019. Defendant listed its date of first use
19   in commerce as January 15, 2018.
20         21.    On May 28, 2018, Defendant filed an intent-to-use Application, Ser.
21   No. 87/938,339 for FIGHTCAMP in International Class 009 for “Downloadable
22   software for the collection, storage and display of performance data from various
23   fitness activities; downloadable software for tracking, monitoring and planning
24   fitness training activities; downloadable software for viewing audio and video
25   materials featuring physical fitness classes, training, and instruction; pedometers;
26   altimeters; multifunctional electronic devices for displaying, measuring, and
27   transmitting information including punches thrown, time, date, heart rate, global
28   positioning, direction, distance, altitude, elevation, speed, pace, steps taken, calories
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                                          COMPLAINT
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 1   burned, routes, navigational information, changes in heart rate, excercise-specific
 2   motions, and activity level; downloadable software for viewing audio and video
 3   materials.” The application registered as Reg. No. 5,886,311 (“the ‘311 Reg.”) on
 4   October 15, 2019. Defendant lists its date of first use in commerce as January 22,
 5   2018.
 6           22.   On May 28, 2018, Defendant filed an intent-to-use application, App.
 7   Ser. No. 87/938,570 for registration of FIGHTCAMP in International Class No.
 8   028 for “Boxing gloves; striking boxing bags; fighting gloves; athletic sporting
 9   goods, namely, training dummies for boxing workouts; striking boxing bag
10   platforms; wrist wraps for sports use; hand wraps for sports use; wrist straps design
11   to hold motion-sensors for sports use; jump ropes; battle ropes, namely, a modified
12   jump rope used for exercise; kettle bells; dumb-bells.” The application registered
13   as Reg. No. 5,822,941 (“the ‘941 Reg.”) on July 30, 2019. Defendants lists its date
14   of first use in commerce as January 15, 2018.
15           23.   On May 28, 2018, Defendant filed an intent-to-use application, App.
16   Ser. No. 87/938,574 (“the ‘574 App.”) for registration of FIGHTCAMP in
17   International Class No. 042 for “Providing on-line non-downloadable software for
18   the collection, storage and display of performance data from various fitness
19   activities; Providing on-line non-downloadable software for tracking, monitoring
20   and planning fitness training activities; Providing on-line non-downloadable
21   software for viewing audio and video materials featuring physical fitness classes,
22   training, and instruction; Hosting an online website featuring on-line non-
23   downloadable software tools for viewing, tracking, storing, managing, and sharing
24   fitness activity data.”
25           24.   On May 28, 2018, Defendant filed intent-to-use App. Ser. No.
26   87/938,569 (“’569 App.”) for registration of FIGHTCAMP in International Class
27   025 for “Clothing, namely, t-shirts, long sleeved shirts, turtle neck shirts, mock
28   turtle-neck sweaters, hats, shorts, shirts, leggings, socks, jersey's, pants, headwear
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                                          COMPLAINT
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 1   for winter and summer, under wear, tank tops, wristbands, headbands, shoes, rain
 2   suits, gloves, jackets, winter caps being headwear, sweat shirts, pullovers, bras.”
 3         25.    Each of Defendant’s Infringing Marks was filed as an intent-to-use
 4   application on May 28, 2018.
 5         26.    FCC’s use of its FIGHT CAMP Marks in commerce precedes
 6   Defendant’s use of the Infringing Marks.
 7         27.    Upon information and belief, Defendant began marketing, promoting
 8   and selling its goods and services in connection with one or more of the Infringing
 9   Marks no earlier than 2018, well after FCC established priority of use in the FIGHT
10   CAMP Marks by acquiring common law rights in the FIGHT CAMP Marks.
11         28.    Defendant’s past and continuing use of the Infringing Marks is without
12   permission or authorization from FCC.
13         29.    Upon information and belief, Defendant knew about FCC and FCC’s
14   use of the FIGHT CAMP Marks before Defendant began marketing and selling its
15   products and/or services under the Infringing Marks. FCC and Defendant have
16   their principal places of business less than 20 miles apart and several coaches of
17   Defendant trained with Mr. Beasley at the FCC facility. Both are using identical
18   marks online that incorporate “fight camp” and offering on-demand fitness
19   programs.
20         30.    Upon information and belief, Defendant knew about FCC and FCC’s
21   use of its FIGHT CAMP Marks before Defendant filed its trademark applications
22   with the USPTO.
23         31.    Upon information and belief, Defendant knew about FCC and FCC’s
24   use of its FIGHT CAMP Marks before Defendant registered the domain name for
25   Defendant’s Website.
26         32.    Defendant sells on-line and on-demand fitness classes, as well fitness
27   gear. Upon information and belief, the goods and on-line services sold by
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                                          COMPLAINT
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 1   Defendant under the Infringing Marks are competitive with FCC’s goods and
 2   services marketed and sold under its FIGHT CAMP Marks.
 3         33.    Upon information and belief, Defendant promotes its goods and
 4   services under the Infringing Marks on some of the same social media sites that
 5   FCC uses to promote its products and services under the FIGHT CAMP Marks.
 6         34.    Upon information and belief, Defendant has purchased Google Ads
 7   and other search engine ads that incorporate the Infringing Marks and target
 8   misspellings of FCC’s name in order to have Defendant’s Website appear first –
 9   before FCC’s Website – in customer search results. Defendant’s Website is
10   displayed above FCC’s Website even for searches including the words “condition”
11   or “conditioning” along with “fight camp.” Screen prints showing examples of
12   search results are attached hereto as Exhibit A.
13         35.     Defendant’s use of the Infringing Marks in association with its
14   promotion and sale of its goods and services has caused actual confusion with
15   consumers. Consumers have attempted to pay FCC for Defendant’s goods or
16   services, while others have contacted FCC with complaints regarding Defendant’s
17   Website and app. In the past 4-6 months alone, FCC has received at least 8 emails
18   from customers who have confused FCC with Defendant.
19         36.     On December 13, 2019, FCC sent Defendant a cease and desist letter
20   demanding that Defendant stop using the Infringing Marks. A copy of the letter is
21   attached hereto as Exhibit B.
22         37.    Defendant’s attorneys responded requesting that FCC send them
23   information evidencing consumers’ actual confusion between the FIGHT CAMP
24   and Infringing Marks.
25         38.    On December 18, FCC sent Defendant’s counsel an email attaching
26   several exemplary screen shots showing instances where consumers were confused.
27   A copy of that email is attached hereto as Exhibit C and is incorporated in its
28   entirety herein.
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                                         COMPLAINT
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 1          39.    FCC still has not received a substantive response to its correspondence
 2   with Defendant, forcing it to file the present action.
 3                                         COUNT 1
 4                         [False Designation of Origin/Association –
 5                                 15 U.S.C. § 1125(a)(1)(A)]
 6          40.    The allegations of paragraphs 1-39 are repeated and re-alleged as if
 7   fully set forth herein.
 8          41.    FCC owns the FIGHT CAMP Marks and has used them in interstate
 9   commerce since at least 2011.
10          42.    Defendant has used, and continues to use, its Infringing Marks in
11   interstate commerce in connection with its marketing and sale of fitness-related
12   goods and services.
13          43.    FCC’s commercial use of the FIGHT CAMP Marks predates
14   Defendant’s commercial use of its Infringing Marks.
15          44.    Defendant’s use of the Infringing Marks in commerce is likely to cause
16   confusion, mistake or to deceive customers as to Defendant’s affiliation,
17   connection, or association with FCC. Defendant’s use the Infringing Marks is
18   likely to confuse customers into believing FCC approves of, or sponsors,
19   Defendant’s products and services. Defendant’s actions therefore constitute
20   infringement and a false designation of origin or association in violation of § 43(a)
21   of the Lanham Trademark Act, 15 U.S.C. § 1125(a)(1)(A).
22          45.    Defendant’s acts are willful and deliberate and made with an intent to
23   reap the benefit of FCC’s name, goodwill and reputation.
24          46.    By reason of Defendant’s acts of false designation and association as
25   alleged above, FCC has suffered, and will continue to suffer, substantial damage to
26   its business reputation and goodwill, as well as diversion of trade and loss of profits
27   in an amount not yet ascertained.
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                                          COMPLAINT
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  1          47.    Defendant’s acts of false designation of origin and association as
  2   alleged above have caused FCC irreparable injury, and Defendant threatens to
  3   continue to commit such acts, and unless restrained and enjoined, will continue to
  4   do so, all to FCC’s irreparable injury. FCC’s remedy at law is not adequate to
  5   compensate it for injuries inflicted and threatened by Defendant.
  6                                         COUNT 2
  7    [Cybersquatting – Anti-Cybersquatting Consumer Protection Act – 15 U.S.C.
  8                                     § 1125(d), et seq.]
  9          48.    The allegations of paragraphs 1-47 are repeated and re-alleged as if
 10   fully set forth herein.
 11          49.    Defendant has registered a domain name that is confusingly similar to
 12   FCC’s distinctive name and FIGHT CAMP Marks, which were and are owned by
 13   FCC. The domain name Defendant registered for Defendant’s Website includes the
 14   majority of FCC’s name and entirety of FCC’s “FIGHT CAMP” mark.
 15          50.    Defendant registered and used the domain name for Defendant’s
 16   Website in bad faith and with the intent to profit from FCC’s name and FIGHT
 17   CAMP Marks and to divert consumers away from FCC’s online location to
 18   Defendant’s online location.
 19          51.    Defendant did so with the intent to create customer confusion as to the
 20   source, sponsorship, affiliation, or endorsement of Defendant’s Website by FCC.
 21          52.    Defendant’s conduct harmed and continues to harm the goodwill of
 22   FCC’s name and FIGHT CAMP Marks.
 23          53.    Upon information and belief, Defendant did not believe and had no
 24   reasonable grounds to believe that use of the domain name for Defendant’s Website
 25   was fair use or was otherwise lawful.
 26          54.    Defendant’s unlawful acts have directly and proximately caused FCC
 27   harm, and will continue to do so, unless Defendant’s registration of the URL for
 28   Defendant’s Website is forfeited, cancelled or transferred to FCC.
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                                           COMPLAINT
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  1                                         COUNT 3
  2                 [Fraudulent Registration of Marks – 15 U.S.C. § 1120]
  3          55.    The allegations of paragraphs 1-54 are repeated and re-alleged as if
  4   fully set forth herein.
  5          56.     Upon information and belief, Defendant knowingly and intentionally
  6   submitted declarations to the USPTO that falsely stated Defendant was the owner
  7   of the Infringing Marks and falsely stated the dates of their first use in commerce.
  8   Upon information and belief, Defendant knew its statements to the USPTO were
  9   false and that FCC – not Defendant—was the owner and first user of the Infringing
 10   Marks in commerce.
 11          57.    Upon information and belief, Defendant made the false statements
 12   regarding these material facts of ownership and first use to the USPTO with the
 13   intention of inducing the USPTO to rely upon Defendant’s misrepresentations. The
 14   USPTO did rely on the information in allowing 4 of the 6 applications for the
 15   Infringing Marks to register.
 16          58.    FCC has suffered damages resulting from the USPTO’s reliance on
 17   Defendant’s misstatements in the form of lost sales and business attributable to
 18   Defendant’s use of the Infringing Marks. FCC is further damaged as Defendant’s
 19   misrepresentation blocks FCC from obtaining federal trademark registration on
 20   FCC’s FIGHT CAMP Marks.
 21                                         COUNT 4
 22                             [State Trademark Infringement]
 23          59.    The allegations of paragraphs 1-58 are repeated and re-alleged as if
 24   fully set forth herein.
 25          60.    FCC is the owner of the FIGHT CAMP Marks.
 26          61.    Defendant, without the consent of FCC, used in commerce, the
 27   Infringing Marks in affiliation, connection, or association with Defendant’s goods
 28   and services in a manner likely to cause confusion.
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                                           COMPLAINT
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  1             62.     Defendant’s acts complaint of herein constitute trademark
  2   infringement under the common law of the State of California.
  3             63.     Defendant’s conduct as alleged above has damaged and will continue
  4   to damage FCC’s goodwill and reputation and has resulted in loss of revenue to
  5   FCC in an amount to be determined.
  6             64.     Defendant’s acts complained of herein constitute malice, oppression
  7   and/or fraud thus entitling FCC to recover punitive damages.
  8                                             COUNT 5
  9                  [Unfair Competition – Cal. Bus. & Prof. Code § 17200, et seq.]
 10             65.     The allegations of paragraphs 1-64 are repeated and re-alleged as if
 11   fully set forth herein.
 12             66.     The acts and conduct of Defendant as alleged above in this Complaint
 13   constitute unlawful, unfair, and/or fraudulent business acts or practice as defined by
 14   California Bus. & Prof. Code § 17200 et seq.
 15             67.     Defendant’s violation of federal law (15 U.S.C. § 1125(a), (d)) and
 16   state common law, as alleged above in the Complaint, constitute unlawful business
 17   practice.
 18             68.     Defendant’s acts of unfair competition have proximately caused and
 19   will continue to cause FCC to suffer injury in fact and monetary damages and lost
 20   revenue in an amount to be proven at trial. Defendant’s acts of unfair competition
 21   have also caused, and are causing, irreparable injury to FCC and to FCC’s FIGHT
 22   CAMP Marks and to the business goodwill represented thereby, and unless
 23   enjoined, will cause further irreparable injury, whereby FCC has not adequate
 24   remedy at law.
 25                                     PRAYER FOR RELIEF
 26             WHEREFORE, FCC respectfully requests this Court to enter the following
 27   relief:
 28             1.      Enter judgment against Defendant that it has:
                                                    11
                                               COMPLAINT
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  1                a. Committed, and is committing, acts of false designation of origin
  2                   and association against FCC under 15 U.S.C. § 1125(a);
  3                b. Engaged in cybersquatting in violation of the Anti-Cybersquatting
  4                   Consumer Protection Act, 15 U.S.C. § 1125(d);
  5                c. Improperly sought federal registration of the Infringing Marks;
  6                d. Willfully infringed, and is infringing, FCC’s rights in its FIGHT
  7                   CAMP Marks;
  8                e. Engaged in unfair competition in violation of Cal. Bus. & Prof.
  9                   Code § 17200; and
 10                f. Otherwise injured the business reputation and business of FCC by
 11                   their acts and conduct set forth in the Complaint;
 12         2.     Issue injunctive relief against Defendant, its officers, agents,
 13   representatives, employees, attorneys, successors and assigns, and all others acting
 14   in concert or participation with Defendant, enjoining them from:
 15                a. Using any of the Infringing Marks, alone or in combination with
 16                   any other words or symbols, which are likely to cause confusion
 17                   with FCC’s FIGHT CAMP Marks;
 18                b. Doing or causing to be done any further acts of unfair competition
 19                   in violation of Cal. Bus. & Prof. Code § 17200;
 20         3.     Direct that Defendant cancel, abandon, transfer to FCC, or otherwise
 21   forfeit its federal trademark applications and/or registrations for the Infringing
 22   Marks;
 23         4.     Order Defendant to pay FCC damages as follows:
 24                a. FCC’s damages, and Defendant’s profits, pursuant to Cal. Bus. &
 25                   Prof. Code § 17200;
 26                b. Punitive damages, in an amount to be determined by the Court, for
 27                   Defendant’s malicious, willful, intentional, deliberate and tortious
 28                   conduct;
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                                           COMPLAINT
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  1                c. Statutory damages of up to $100,000 per domain name for
  2                   Defendant’s willful violation of the Anti-Cybersquatting Consumer
  3                   Protection Act, as well as forfeiture, cancellation, or transfer of the
  4                   URL for Defendant’s Website improperly registered by Defendant;
  5                d. Such other damages as the Court deems just and proper; and
  6                e. Interest, including prejudgment interest, on the foregoing sums.
  7         5.     Order Defendant to pay FCC both the costs of this action and its
  8   reasonable attorneys’ fees;
  9         6.     Award FCC such further relief as this Court deems just and proper.
 10
 11
 12                                    JURY DEMAND
 13         In accordance with the Federal Rules of Civil Procedure 38 and Local Rule
 14   38-1, FCC respectfully demands a trial by jury on all issues so triable.
 15
       Dated: February 28, 2020                   Respectfully submitted,
 16
                                                  LOZA & LOZA, LLP.
 17
 18
                                                  By:
 19                                                     Lena N. Bacani
 20                                               Attorneys for Plaintiff Goldwell
                                                  Enterprises, Inc.
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                                           COMPLAINT
